                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

UNITED STATES OF AMERICA                     )       Case No. 1:15-mj-98
                                             )
vs.                                          )
                                             )
SHONTAVIS MORGAN                             )       JUDGE CARTER



                               MEMORANDUM AND ORDER

       In accordance with Rules 5 and 5.1 of the Federal Rules of Criminal Procedure and in
accordance with the Bail Reform Act, 18 United States Code ' 3142(f), the initial appearance
was held on April 10, 2015, and the detention hearing was held in this action on April 16, 2015.
Those present included:

               (1) An Asst. U.S. Attorney (AUSA) for the Government.
               (2) The defendant.
               (3) Attorney Dan Ripper for defendant.

        Upon being sworn the defendant was informed or reminded of his privilege against
self-incrimination accorded him under the 5th Amendment to the United States Constitution.

       The defendant acknowledged he had received a copy of the Criminal Complaint.         It was
determined he was capable of being able to read and understand these proceedings.

        The AUSA moved the court the defendant be detained without bail. The defendant asked
for time to prepare for his preliminary hearing and detention hearing. The Court scheduled those
hearings for April 16, 2015. At the April 16, 2015 hearing, the defendant waived his preliminary
hearing.

                                   Detention Hearing - Proof

        The AUSA called TBI Special Agent Mark Delaney as a witness.        He testified to the
facts outlined in the affidavit attached to the criminal complaint.

                                            Findings

       Having considered the sworn affidavit of Agent Delaney and defendant’s waiver of
preliminary hearing, the undersigned finds:



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            (1) There is probable cause to believe that there have been
            violations of 18 U.S.C. ' 922(g)(1), possession of a firearm by a
            convicted felon; and 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(A),
            possession with intent to distribute and conspiracy to distribute 50
            grams or more of methamphetamine (actual), committed in the
            Eastern District of Tennessee.

            (2) There is probable cause to believe the defendant committed the
            aforesaid offenses.

            (3) The proof the defendant committed the aforesaid offenses is
            strong.

            (4) There are no conditions nor are there any combinations of
            conditions which will reasonably assure the safety of the
            community or the presence of the defendant at future hearings.

                                        Conclusions

      It is ORDERED:

            (1) The defendant is held to answer the charges against him in
            the District Court.

            (2) The AUSA’s motion to detain the defendant without bail is
            GRANTED for reasons set out in the separate ORDER OF
            DETENTION PENDING TRIAL filed with this order.

            (3) The defendant=s next appearance shall be before a U.S.
            Magistrate Judge at 2:30 pm on Thursday, April 30, 2015.

      ENTER.

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                                          UNITED STATES MAGISTRATE JUDGE




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